                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


ROADGET BUSINESS PTE. LTD., a private
limited company organized in the country of
Singapore,

                           Plaintiff,                      CIVIL ACTION NO. 1:24-cv-00115

          v.                                               Judge: Hon. Elaine E. Bucklo

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO

                           Defendants.


                         DEFENDANTS’ EMERGENCY MOTION
               TO DISSOLVE OR MODIFY TEMPORARY RESTRAINING ORDER


          Defendants1 respectfully move to dissolve or modify the temporary restraining order (ECF

No. 20) for the reasons set forth in the supporting Memorandum filed concurrently with this Motion.

Dated: February 7, 2024                                  Respectfully Submitted,

                                                      /s/____Christopher J. Fahy_________




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    This Motion is made by the following Defendants listed on Schedule A of the Complaint: Defendant Nos.


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